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                               UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF RHODE ISLAND

                                         )
 KIEL JAMES PATRICK, LLC,                )
       Plaintiff,                        )
                                         )
 v.                                      )                      C.A. No. 1:22-cv-00089
                                         )
 THE PARTNERSHIPS AND                    )
 UNINCORPORATED                          )
 ASSOCIATIONS IDENTIFIED                 )
 ON SCHEDULE “A”,                        )
      Defendants.                        )
                                         )

      ORDER REGARDING PLAINTIFF’S EX PARTE MOTION FOR TEMPORARY
             RESTRAINING ORDER AND WRIT OF ATTACHMENT

        The above-captioned matter was heard before the Honorable Mary S. McElroy on March

 3, 2022, at 3:30 p.m. on Plaintiff Kiel James Patrick, LLC’s (“Plaintiff”) Ex Parte Motion for

 Temporary Restraining Order and Writ of Attachment (ECF No. 5) (the “Motion”). After

 consideration of the Motion, it is hereby ordered, adjudged, and decreed:

        1.        That the Motion is GRANTED, in part, as set forth herein;

        2.        That the lack of notice of the Motion was justified and excusable pursuant to Fed.

 R. Civ. P. 65(b)(1)(B);

        3.        That Plaintiff has demonstrated a likelihood of success on the merits of their claims

 against the Temporarily Restrained Defendants, as defined below, with respect to the following

 products (the “Imitation Products”):

             a.   The “ASHMITA 6pcs Gold Nautical Charm Anchor Bracelet for Men Women

                  Multi-Wrap Rope Bracelets Adjustable Size 6”-8” listed for sale by Defendant

                  Zhang Li d/b/a Ashmita Jewelry;
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              b. The “Men’s Genuine Leather Bracelet Cowhide Multilayer Braided Leather Cuff

                 Wrap Wristbands Classic Designed Bangle Stainless Steel Bracelet for Men Boys”

                 listed for sale by Defendant Kdeemua;

              c. The “high quality Cool Anchor Hook Nautical Rope Bracelet Handmade Mens

                 Anchor Bracelet” listed for sale by Defendant Dongguan Minos Stainless Steel

                 Jewelry Co., Ltd.; and

              d. The “2019 PU Leather Bracelet Handmade Braid Bracelet With Metal Anchor Men

                 Bracelet Jewelry” listed for sale by Defendant Ranoveo.

         4.      That without the relief requested in the Motion, Plaintiff will suffer irreparable

 harm;

         5.      That the balance of hardships between the parties weighs in favor of granting the

 Motion;

         6.      That the granting of the Motion is beneficial to the public interest;

         7.      That the following Defendants—Zhang Li d/b/a Ashmita Jewelry, Kdeemua,

 Dongguan Minos Stainless Steel Jewelry Co., Ltd., and Ranoveo (the “Temporarily Restrained

 Defendants”)—their affiliates, officers, agents, servants, employees, attorneys, confederates, and

 all persons acting for, with, by, through, under, or in active concert with them are hereby

 temporarily enjoined and restrained from:

              a. Using Plaintiff’s Anchor Design Marks, as defined in the Complaint, or any

                 reproductions, counterfeit copies, or colorable imitations thereof in any manner in

                 connection with the distribution, marketing, advertising, offering for sale, or sale

                 of the Imitation Products;




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             b. Passing off, inducing, or enabling others to sell or pass off any product as a genuine

                product of Plaintiff’s or any other product produced by Plaintiff that is not

                Plaintiff’s or not produced under the authorization, control, or supervision of

                Plaintiff and approved by Plaintiff for sale under Plaintiff’s Anchor Design Marks;

             c. Committing any acts calculated to cause consumers to believe that the Temporarily

                Restrained Defendants’ Imitation Products are those sold under the authorization,

                control, or supervision of Plaintiff, or are sponsored by, approved by, or otherwise

                connected with Plaintiff;

             d. Further infringing Plaintiff’s Anchor Design Marks and damaging Plaintiff’s

                goodwill; and

             e. Shipping, delivering, holding for sale, transferring or otherwise moving, storing,

                distributing, returning, or otherwise disposing of, in any manner, products or

                inventory not manufactured by or for Plaintiff, nor authorized by Plaintiff to be sold

                or offered for sale, and which bear Plaintiff’s Anchor Design Marks, or any

                reproductions, counterfeit copies, or colorable imitations thereof.

        8.      That the Temporarily Restrained Defendants, their affiliates, officers, agents,

 servants, employees, attorneys, confederates, and all persons acting for, with, by, through, under,

 or in active concert with them are hereby temporarily enjoined and restrained from:

             a. Using Plaintiff’s Design Patent, as defined in the Complaint, or any reproductions,

                counterfeit copies, or colorable imitations thereof in any manner in connection with

                the distribution, marketing, advertising, offering for sale, or sale of the Imitation

                Products;




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             b. Passing off, inducing, or enabling others to sell or pass off any product as a genuine

                product of Plaintiff’s or any other product produced by Plaintiff that is not

                Plaintiff’s or not produced under the authorization, control, or supervision of

                Plaintiff and approved by Plaintiff for sale under Plaintiff’s Design Patent;

             c. Committing any acts calculated to cause consumers to believe that the Temporarily

                Restrained Defendants’ Imitation Products are those sold under the authorization,

                control, or supervision of Plaintiff, or are sponsored by, approved by, or otherwise

                connected with Plaintiff;

             d. Further infringing Plaintiff’s Design Patent and damaging Plaintiff’s goodwill; and

             e. Shipping, delivering, holding for sale, transferring or otherwise moving, storing,

                distributing, returning, or otherwise disposing of, in any manner, products or

                inventory not manufactured by or for Plaintiff, nor authorized by Plaintiff to be sold

                or offered for sale, and which are identical to Plaintiff’s Design Patent, including

                the Design Patent, or any reproductions, counterfeit copies, or colorable imitations

                thereof.

        9.      That those in privity with the Temporarily Restrained Defendants and those with

 notice of this Order, including any online marketplaces, shall:

             a. Disable and cease providing services for any accounts through which the

                Temporarily Restrained Defendants engage in the sale of the Imitation Products

                identified herein;

             b. Disable and cease displaying any advertisements used by or associated with the

                Temporarily Restrained Defendants in connection with the sale of the Imitation

                Products identified herein; and



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              c. Take all steps reasonably necessary to prevent links to the Temporarily Restrained

                 Defendants’ Imitation Products, as identified herein, from displaying in search

                 results.

        10.      That the Temporarily Restrained Defendants’ funds located in each of their

 accounts connected to the Imitation Products and located at Amazon.com, Inc. and PayPal, Inc.

 are hereby attached, pursuant to Fed. R. Civ. P. 64, pending further Order of this Court;

        11.      That the Temporarily Restrained Defendants, their affiliates, officers, agents,

 servants, employees, attorneys, confederates, and all persons acting for, with, by, through, under,

 or in active concert with them are hereby temporarily restraining and enjoined from transferring

 or withdrawing any funds from their accounts connected to the Imitation Products at Amazon.com,

 Inc. and PayPal, Inc., pending further Order of this Court;

        12.      That the duration of this Order shall be for fourteen (14) days;

        13.      That the Motion as to the remaining, non-Temporarily Restrained Defendants is

 denied, without prejudice; and

        14.      That hearing on a request for preliminary injunction or other injunctive relief is

 scheduled for March            , 2022, at             .

 IT IS SO ORDERED.




 Mary S. McElroy
 United States District Judge




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